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               IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF LOUISIANA, MONROE DIVISION

   PHILLIP CALLAIS, LLOYD PRICE,
   BRUCE ODELL, ELIZABETH ERSOFF,
   ALBERT CAISSIE, DANIEL WEIR,
   JOYCE LACOUR, CANDY CARROLL
   PEAVY, TANYA WHITNEY, MIKE
   JOHNSON, GROVER JOSEPH REES,
   ROLFE MCCOLLISTER,                       Civil Action No. 3:24-cv-00122

                      Plaintiffs,           Judge David C. Joseph

                     v.                     Circuit Judge Carl E. Stewart

   NANCY LANDRY, in her official capacity   Judge Robert R. Summerhays
   as Secretary of State for Louisiana,

                      Defendant.




                    ROBINSON PLAINTIFFS’ AMICUS BRIEF
     IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                    PRELIMINARY STATEMENT

             This case asks whether the State of Louisiana was justified in enacting a congressional

   districting plan with two majority-Black districts after multiple federal courts held that a plan with

   only one district violated Section 2 of the Voting Rights Act of 1965 (“VRA”). And it asks

   whether, in carrying out that statutory mandate, the State has the flexibility to elevate political

   considerations over traditional redistricting concerns such as compactness and maintaining whole

   parishes, while still ensuring compliance with Section 2. In light of the robust evidentiary record

   developed in the Section 2 litigation in Robinson v. Ardoin, currently pending in the Middle

   District of Louisiana, the rulings of the district court and the Fifth Circuit in that litigation, and a

   complete accounting of the legislative record supporting SB8, the answer to both questions is

   indisputably, “yes.” See Robinson v. Ardoin, 605 F. Supp. 3d 759 (M.D. La. 2022) (“Robinson I”);

   Robinson v. Ardoin, 37 F.4th 208 (5th Cir. 2022) (“Robinson II”); Robinson v. Ardoin, 86 F.4th

   574 (5th Cir. 2023) (“Robinson III”). Accordingly, the preliminary injunction must be denied.

             Decades of case law establish that heeding the requirements of the VRA is both mandatory

   and constitutional. Even though the 2020 census revealed that almost all of Louisiana’s population

   growth was driven by minority populations, in 2022 the State enacted a congressional map

   (“HB1”) that diluted Black voting strength by “packing” large numbers of Black voters into a

   single majority-Black congressional district and “cracking” the State’s remaining Black voters

   among the five remaining districts, all of which were majority white. The congressional map

   Plaintiffs seek would do the same. But the district court in Robinson and two unanimous panels of

   the Fifth Circuit concluded that Section 2 likely requires Louisiana to adopt a congressional district

   map that includes two districts in which Black voters have an opportunity to elect their candidates

   of choice. Robinson I, 605 F. Supp. 3d at 766; Robinson II, 37 F.4th at 215; Robinson III, 86 F.4th

   at 583.
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          In this case, Plaintiffs seek to vitiate the effect of these rulings and foist on Louisiana a

   congressional map materially identical to the one challenged in Robinson that unlawfully diluted

   the votes of Black voters. Louisiana has already gone through one election under a map that

   violates Section 2, and Plaintiffs must not be permitted, in this collateral litigation, to disrupt the

   orderly implementation of a lawful plan in advance of the 2024 election. Under clearly established

   Supreme Court precedent, Plaintiffs are exceedingly unlikely to prevail on their Fourteenth and

   Fifteenth Amendment claims. The litigation and legislative record amply demonstrate that the

   Legislature had a strong basis in evidence for creating a second district to provide Black

   Louisianans an opportunity to elect candidates of their choice, and that politics, not race, drove the

   particular line-drawing decisions that led to SB8’s final district configuration. In light of this

   record, it is clear that race did not predominate in the creation of SB8, and even if it did, it was

   justified by the State’s need to comply with the VRA and the rulings of two federal courts.

          Plaintiffs’ intentional discrimination argument fails for the same reasons. There is no

   evidence that the Legislature was driven by animus toward Plaintiffs or the class of “non-African

   American” voters whose interests they purport to represent. There is likewise no evidence that SB8

   has the effect of diluting Plaintiffs’ votes on account of their non-African American status.

          Moreover, Plaintiffs cannot establish irreparable injury, and the balance of the equities and

   public interest weigh heavily against injunctive relief. Here, the only risk of irreparable injury lies

   with the Robinson Amici and Black Louisianians, who would suffer vote dilution in yet another

   election if this Court imposes Plaintiffs’ illustrative map. Such a result would harm all Louisiana

   voters, including Plaintiffs, by resulting in an election under congressional districts that likely

   violate the law. The public’s expectations for the 2024 election are finally settled through the acts

   of their elected representatives after hard-fought litigation about what the law requires. The process



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   that led to SB8 is exactly the process that the Fifth Circuit contemplated when it remanded the

   Robinson case to the district court and imposed a deadline for the Legislature to come into

   compliance with Section 2. Plaintiffs must not be allowed to disrupt that orderly process through

   a last-minute collateral attack. Plaintiffs’ preliminary injunction motion should be denied.

                                     FACTUAL BACKGROUND

   Louisiana has a long history of disenfranchising and discriminating against Black voters.

          As the Robinson district court found, “[t]here is no sincere dispute” about “Louisiana’s

   long and ongoing history of voting-related discrimination.” Robinson I, 605 F. Supp. 3d at 848.

   Although nearly one-third of Louisiana’s voting-age citizens are Black, the State’s congressional

   districting maps included no majority-Black districts until the 1980s. Only after a federal court

   held that the State’s prior congressional district map violated the VRA did the State adopt a map

   with one majority-Black district. See Major v. Treen, 574 F. Supp. 325 (E.D. La. 1983).

          As the Robinson court also found, voting in Louisiana is starkly polarized by race, and,

   except in majority-Black districts, white voters in Louisiana have consistently voted as a bloc to

   defeat the candidates preferred by Black voters. Robinson I, 605 F. Supp. 3d at 839–844. No Black

   candidate has been elected to statewide office since Reconstruction; Louisiana has never elected a

   Black candidate to Congress from a non-majority-Black district; and Black Louisianians are

   substantially underrepresented in both houses of the State legislature. Id. at 845–46.

   The Louisiana Legislature enacts HB1 over a gubernatorial veto.

          The 2020 census revealed that Louisiana’s population increased since 2010, that this

   growth was driven almost entirely by growth in minority populations, and that Black citizens

   represent approximately 33.1% of the State’s total population and 31.2% of its voting age

   population. Id. at 851. The census also showed that the State’s congressional apportionment

   remained unchanged from 2010 at six congressional seats. Id. at 767. Consistent with its

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   constitutional obligation to ensure that its congressional districts are as equal in population as

   possible, the State undertook its decennial redistricting process to redraw its district maps. Id. at

   769–70.

           Between October 2021 and January 2022, the Legislature held public hearings across the

   State to solicit views about congressional redistricting. Voter after voter urged the Legislature to

   enact a map including two districts in which Black voters would have the same opportunity as

   white voters to elect their candidates of choice. Voters and Louisiana-based voting rights

   organizations also provided detailed analysis showing that the adoption of a plan with two districts

   in which Black voters had an equal opportunity to elect their candidates of choice was required by

   the VRA.1 Multiple proposals for district maps with two majority-Black districts, including maps

   resembling SB8, were presented to the Legislature.2

           The Legislature rejected these plans and adopted HB1. Like its predecessors, HB1 had one

   majority-Black district stretching from New Orleans to Baton Rouge. HB1 also provided for five

   districts with large white voting age majorities. Then-Governor Edwards vetoed HB1 on the

   ground that it “violate[d] Section 2 . . . and further is not in line with the principle of fundamental

   fairness.” The Legislature overrode the Governor’s veto and HB1 became law.3




   1
     Email Testimony of Michael Pernick submitted to the Monroe, La. Redistricting Roadshow (Oct. 18,
   2021), https://redist.legis.la.gov/2020_Files/MtgFiles/Email Testimony - Michael Pernick, NAACP Legal
   Defense & Educational Fund, Inc., & others.pdf.
   2
     See H.B. 4, 1st Spec. Sess. (La. 2022); H.B. 5, 1st Spec. Sess. (La. 2022); H.B. 7, 1st Spec. Sess. (La.
   2022); H.B. 8, 1st Spec. Sess. (La. 2022); H.B. 9, 1st Spec. Sess. (La. 2022); H.B. 12, 1st Spec. Sess. (La.
   2022); S.B. 2, 1st Spec. Sess. (La. 2022); S.B. 4, 1st Spec. Sess. (La. 2022); S.B. 6, 1st Spec. Sess. (La.
   2022); S.B. 9, 1st Spec. Sess. (La. 2022); S.B. 10, 1st Spec. Sess. (La. 2022); S.B. 11, 1st Spec. Sess. (La.
   2022); S.B. 16, 1st Spec. Sess. (La. 2022); S.B. 18, 1st Spec. Sess. (La. 2022); Amendment #88 to H.B. 1,
   1st Spec. Sess. (La. 2022); Amendment #99 to H.B. 1, 1st Spec. Sess. (La. 2022); Amendment #153 to H.B.
   1, 1st Spec. Sess. (La. 2022); Amendment #62 to S.B. 2, 1st Spec. Sess. (La. 2022); Amendment.
   3
      March 9, 2022 Letter from Governor John Bel Edwards to Hon. Clay J. Schexnayder,
   https://gov.louisiana.gov/assets/docs/Letters/SchexnayderLtr20220309VetoHB1.pdf.

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   The district court enjoins HB1 as likely violating the VRA.

             Immediately after the veto override, the Robinson and Galmon4 plaintiffs—voting rights

   organizations and individual Black voters from across the state—commenced actions in the U.S.

   District Court for the Middle District of Louisiana against the Secretary of State challenging HB1

   on the ground that it dilutes the voting strength of the state’s Black voters in violation of Section

   2 and moved for preliminary injunctions against the plan’s implementation. The Attorney General

   and the leaders of both houses of the Legislature intervened as defendants, and the Legislative

   Black Caucus intervened as a plaintiff. In May 2022, the district court held a five-day evidentiary

   hearing on the plaintiffs’ preliminary injunction motions. The parties presented testimony from

   seven fact witnesses and fourteen experts and made extensive pre- and post-hearing written

   submissions. Robinson I, 605 F. Supp. 3d at 768–69.

             On June 6, 2022, Judge Dick issued a 152-page Ruling and Order granting plaintiffs’

   motion for a preliminary injunction. Id. at 766. The court concluded that the plaintiffs were

   substantially likely to prevail on each of the preconditions for establishing Section 2 liability under

   Thornburg v. Gingles, 478 U.S. 30 (1986), and, as Gingles also requires, with regard to the totality

   of the circumstances. The court considered and squarely rejected the arguments Plaintiffs urge

   here that the first Gingles precondition—namely, a showing that the Black population is

   sufficiently large and geographically compact to constitute a majority in a single member district

   that is reasonably compact and drawn in conformity with traditional redistricting principles—

   cannot be established; that the illustrative maps plaintiffs presented showing two majority-Black

   districts were unconstitutional racial gerrymanders; and that the Hays cases from the 1990s

   precluded enactment of a congressional map with two majority-Black districts. Id. at 820–39.



   4
       Galmon v. Ardoin, No. 3:22-cv-00214-SDD-SDJ (M.D. La.).

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          In granting the preliminary injunction, the court provided the Louisiana Legislature an

   opportunity to adopt a remedial plan that included two majority-Black districts. Id. at 766. The

   court emphasized the Supreme Court’s direction that “[s]tates retain broad discretion in drawing

   districts to comply with the mandate of § 2,” and that the State is not required to “draw the precise

   compact district that a court would impose in a successful § 2 challenge.” Id. at 857 (quoting Shaw

   v. Hunt, 517 U.S. 899, 917 n.9 (1996), and Bush v. Vera, 517 U.S. 952, 978 (1996)); see also id.

   at 857–58 (nothing that “deference is due to [the State’s] reasonable fears of, and to their

   reasonable efforts to avoid, § 2 liability”) (quoting Vera, 517 U.S. at 978).

   The Fifth Circuit denies a stay pending appeal, but the Supreme Court stays the preliminary
   injunction pending Allen v. Milligan.

          The defendants in Robinson—two of which are Defendants here—filed notices of appeal

   and moved for a stay pending appeal. On June 12, 2022, a Fifth Circuit motions panel unanimously

   denied the Robinson defendants’ motion, concluding that the defendants had “not met their burden

   of making a strong showing of likely success on the merits.” Robinson II, 37 F.4th at 215. The

   panel squarely rejected defendants’ arguments that “complying with the district court’s order [to

   adopt a plan with two majority-Black districts] would require the Legislature to adopt a

   predominant racial purpose.” Id. at 222–24; see also id. at 215 (noting that the district court’s order

   on appeal “requires the Louisiana Legislature to enact a new congressional map with a second

   black-majority district”); id at 223 (“[T]he defendants have not overcome the district court’s

   factual findings indicating that the [plaintiffs’] illustrative maps are not racial gerrymanders.”).

          The Supreme Court subsequently ordered that the case be “held in abeyance pending this

   Court’s decision” in Allen v. Milligan (then-named Merrill v. Milligan), a case involving a

   challenge to Alabama’s congressional district map under Section 2 of the VRA. See Ardoin v.

   Robinson, 142 S. Ct. 2892 (2022). On June 8, 2023, the Court issued its decision in Milligan,


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   upholding the lower court’s preliminary injunction against the Alabama map and strongly

   reaffirming the Gingles framework. See Allen v. Milligan, 599 U.S. 1, 17 (2023). The Court

   thereafter lifted the stay in Robinson and remanded “for review in the ordinary course and in

   advance of the 2024 congressional elections in Louisiana.” Ardoin v. Robinson, 143 S. Ct. 2654

   (2023).

   The Fifth Circuit agrees that HB1 likely violates the VRA, but vacates the injunction because
   there was adequate time for a trial before the 2024 election.

             On November 10, 2023, the merits panel of the Fifth Circuit issued a unanimous opinion

   endorsing the Robinson court’s ruling that plaintiffs were likely to succeed on the merits of their

   Section 2 claim. Robinson III, 86 F.4th at 583. The court concluded that a redistricting objective

   to establish two majority-Black districts “does not automatically constitute racial predominance.”

   Id. at 594 (citing Milligan, 599 U.S. at 32–33). The court rejected the defendants’ argument that,

   because the plaintiffs’ proposed illustrative maps were “designed with the goal of at least 50

   percent [Black Voting Age Population],” they were impermissible racial gerrymanders. Id. at 593.

   The court reasoned that “[a]ttempting to reach the needed 50 percent threshold does not

   automatically amount to racial gerrymandering.” Id. at 594. The “target of reaching a 50 percent

   BVAP was considered alongside and subordinate to the other race-neutral traditional redistricting

   criteria Gingles requires,” including consideration of “communities of interest, political

   subdivisions, parish lines, culture, religion, etc.” Id. at 595. The court concluded that “[t]he district

   court’s preliminary injunction . . . was valid when it was issued.” Id. at 599.

             The Fifth Circuit nevertheless vacated the preliminary injunction on the ground that “[f]or

   the 2024 Louisiana elections calendar . . . there is no imminent deadline,” and because a trial on

   the merits could be held before that election, a preliminary injunction “is no longer required to

   prevent the alleged elections violation.” Id. at 600. The court allowed the Legislature until January


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   15, 2024, to enact a new congressional redistricting plan and directed that “[i]f no new plan is

   adopted, then the district court is to conduct a trial and any other necessary proceedings to decide

   the validity of the H.B. 1 map, and, if necessary, to adopt a different districting plan for the 2024

   election.” Id. at 601–02. The district court subsequently extended that deadline, at the defendants’

   request, to January 30, 2024. Robinson I, ECF No. 330. The Fifth Circuit denied defendants’

   motion for reconsideration en banc. Robinson III, ECF No. 363.

   Governor Landry calls a Special Session to enact a new congressional map.

          On January 8, 2024, newly inaugurated Governor Landry called the Legislature into an

   extraordinary session to, inter alia, “legislate relative to the redistricting of the Congressional

   districts of Louisiana.”5 One week later, the Legislature convened. Prior to the commencement of

   session, the Committee on House and Governmental Affairs met for an informational briefing from

   committee staff and the Attorney General on the requirements for the redistricting process and

   legal process that led to the special session.6 The briefing emphasized population shifts reported

   in the last census, traditional redistricting principles, and the court record in Robinson.7

          In a speech to the Legislature, Governor Landry explained that the purpose of the Special

   Session was to approve a new Congressional district map that satisfied the VRA and that was

   chosen by the Legislature rather than the courts. He averred that the State had “exhausted all legal

   remedies” to defend HB1.8 He implored the legislators to “join [him] in adopting the redistricting

   maps proposed,” stating the “maps will satisfy the court and ensure that the congressional districts

   5
     Proclamation 01 JML 2024, Call and Convene the Legislature of Louisiana into Extraordinary Session
   (Jan. 8. 2024), available at https://www.gov.louisiana.gov/assets/ExecutiveOrders/2024/JML-
   Proclamation-01.pdf.
   6
     See generally La. Committee on House and Governmental Affairs Meeting (Jan. 15, 2024), available at
   https://redist.legis.la.gov/default_video?v=house/2024/jan/0115_24_HG (“Ex. 1”).
   7
     Id.
   8
      Office of the La. Governor, Governor Jeff Landry Opens First Special Session on Court Ordered
   Redistricting (Jan. 16, 2024), https://gov.louisiana.gov/news/governor-jeff-landry-opens-first-special-
   session-on-court-ordered-redistricting.

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   of our State are made right here in the Legislature and not by some heavy-handed member of the

   federal judiciary.”9

           Seven bills were filed to reconfigure the congressional district lines. Six of those bills

   provided for two majority-Black districts.10 SB8, the bill ultimately enacted, provides for a bare

   majority of Black voters in two districts, CD2 and CD6. An alternative bill, SB4, mirrored a map

   proposed as a remedial plan by the Plaintiffs in the Robinson litigation, which included Black

   voting age majorities in CD2 and CD5, was substantially identical to maps the district court had

   held were consistent with traditional redistricting principles and were not predominantly motivated

   by race or unconstitutional racial gerrymanders.11

   Senator Womack describes the political rationale behind SB8.

           The legislative record reflects that the Legislature’s primary purpose in enacting SB8 was

   politics rather than race. Senator Womack, the lead Senate sponsor of SB8, described the bill as

   the “product of a long, detailed process” to achieve “several goals.”12 First among these goals,

   Senator Womack stated, was to ensure that his congressional representative, Julia Letlow,

   “remains both unpaired with any other incumbents and in a congressional district that should



   9
     Id.
   10
      See H.B. 2, 1st Spec. Sess. (La. 2024); H.B. 5, 1st Spec. Sess. (La. 2024); H.B. 14, 1st Spec. Sess. (La.
   2024); H.B. 19, 1st Spec. Sess. (La. 2024); S.B. 4, 1st Spec. Sess. (La. 2024); S.B. 8, 1st Spec. Sess. (La.
   2024); S.B. 10, 1st Spec. Sess. (La. 2024).
   11
      Robinson I, 605 F. Supp. 3d at 838 (“There is no factual evidence that race predominated in the creation
   of the illustrative maps in this case . . . Plaintiffs’ expert witnesses William Cooper and Anthony Fairfax
   explicitly and credibly testified that they did not allow race to predominate over traditional districting
   principles as they developed their illustrative plans.”); see also Robinson II, 86 F.4th at 592 (“The district
   court reviewed the evidence before it and made a factual finding as to what the evidence showed,
   acknowledging throughout its decision the State’s omission of contrary testimony. It concluded that the
   facts and evidence demonstrated the Plaintiffs were substantially likely to prove the geographic
   compactness of the minority population . . . There was no clear error by the district court when it found the
   illustrative maps created a different community of interest and the first Gingles precondition was met.”).
   12
      See La. Committee on Senate and Governmental Affairs Meeting (Jan. 16, 2024) (“Ex. 2”), Part II
   available at https://senate.la.gov/s_video/VideoArchivePlayer?v=senate/2024/01/011624SG2 (starting
   around 30:17).

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   continue to elect a Republican to Congress for the remainder of this decade.”13 In this critical way,

   Senator Womack and other legislators acknowledged, SB8 differed from SB4 (a bill that, as noted,

   resembled a map proposed by the Robinson plaintiffs), which created a new majority-Black district

   in CD5 which Representative Letlow currently serves.14 Instead, SB8 created a new majority-

   Black district in CD6, the district currently held by Congressman Garrett Graves.15

          Senator Womack further emphasized the political goal of maintaining four “safe

   Republican seats,” and ensuring that the seats currently held by Speaker of the U.S. House of

   Representatives Mike Johnson and U.S. House Majority Leader Steve Scalise “will have solidly

   Republican districts at home so that they can focus on . . . national leadership.”16 Senator Womack

   stated that he “considered a number of different map options” to comply with the federal courts’

   directives to abide by Section 2, but decided to sponsor SB8 because he believed it best

   “accomplished the political goals” he believed are “important” for his “district, for Louisiana, and

   for our country.”17 Senator Womack expanded upon his motivations and the mapping process

   during questioning from committee members. After acknowledging that SB8 split more parishes

   than SB4, Senator Womack noted that political considerations were prioritized in balancing other

   principles, like parish splits: “It was strictly—politics drove this map.” 18

          Other legislators were similarly clear about their primary motivation—the safe political

   futures of select Republican incumbents. While House Speaker Johnson, Majority Leader Scalise,

   and Representatives Letlow and Higgins were all named during the process,19 Representative


   13
      Id.
   14
      Id.
   15
      See S.B. 8, 1st Spec. Sess. (La. 2024).
   16
      See Ex. 2 at 31:18 – 31:54 (Jan. 16, 2024).
   17
      Id. at 33:55 – 34:23.
   18
      Id. at 34:30 – 35:44.
   19
       See, e.g., La. Committee on House and Governmental Affairs, at 26:00 – 26:32 (Jan. 18, 2024),
   https://redist.legis.la.gov/default_video?v=house/2024/jan/0118_24_HG_P2 (“Ex. 4”).

                                                     10
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   Graves was conspicuously left out of the on-the-record statements by proponents of SB8—

   consistent with the widely reported accusations that the Governor and allies in the Legislature were

   motivated to pass a map that would undermine Representative Graves’ political future in retaliation

   for his support of political opponents of both Majority Leader Scalise in his brief candidacy for

   Speaker of the House and Governor Landry in his recent campaign for Governor.20

           Senator Womack expressly stated that race was “not the predominant factor” in adopting

   SB8 but was instead a “secondary consideration.”21 When asked if he analyzed whether the

   majority-Black districts in SB8 would perform for Black voters, he responded that he conducted

   no such analysis, but added that he knew how the districts would perform on party lines: “Our

   analysis is on party, not race.”22 And when asked why the map joined Shreveport and Baton Rouge,

   Senator Womack stated, “we had to draw two districts, and that’s the only way we could get two

   districts … one of the ways we could get two districts and still protect our political interest.”23

   Senator Womack describes traditional redistricting principles guiding SB8.

           Senator Womack and other proponents of SB8 also highlighted the shared interests of

   Louisianians united in the new configuration of CD6, highlighting the communities tied together

   by the Red River and I-49.24 Legislators emphasized the shared industry and commerce,



   20
      See, e.g., Tyler Bridges, Rep. Garret Graves was on top. Now he's fighting for his political life. What
   happened?, NOLA.COM (Jan. 20, 2024), https://www.nola.com/news/politics/rep-garret-graves-sees-
   fortunes-fall-steeply/article_c4592922-b721-11ee-bba8-c3fe4cd6a7ad.html (“After deciding not to run
   himself for governor, Graves ran afoul of Landry by backing the bid of Stephen Waguespack, an ally who
   was then the head of the Louisiana Association of Business and Industry…Apart from payback, Landry has
   an additional reason to want to sideline Graves, political insiders say. As a sitting congressman with an
   ability to raise money, Graves could be a formidable challenger to Landry’s re-election in 2027. Graves,
   meanwhile, upset Scalise by not publicly supporting his bid to be speaker in October after McCarthy
   resigned.”).
   21
      Ex. 2
   22
      Ex. 2 at 38:50 – 43:16.
   23
        Meeting of the Louisiana State Senate at 11:10 – 12:08 (Jan. 17, 2024),
   https://senate.la.gov/s_video/VideoArchivePlayer?v=senate/2024/01/011724SCHAMB (“Ex. 3”).
   24
      Ex. 2 at 38:08 – 38:24.

                                                      11
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   educational institutions, agriculture, cattlemen, farms, row crops, and healthcare centers common

   to the regions connected in CD6 under SB8.25 During debate in the Committee on House and

   Governmental Affairs following Senator Womack’s introduction of SB8, for example,

   Representative Ed Larvadain stated his initial preference for the alternative map presented by the

   Robinson plaintiffs, but voiced support for SB8 due to the communities of interest it ties together.

   Representative Larvadain, who represents communities in Alexandria at the heart of SB8’s CD6,

   detailed communities connected throughout the district in an exchange with Senator Womack:

           REPRESENTATIVE LARVADAIN: Okay. Now, when you look at the
           community of interest, I’m in Rapides. My district is cut up in two spots. I’m in
           District 4 and District 6. I know in the community of interest, you’ve got Rapides
           and Natchitoches, and I think that you’ve got the Creole Nation, you’ve got
           Northwestern State University. A lot of my students in my district attend those, so
           that’s a community of interest. Would you agree?

           SENATOR WOMACK: I agree.

           REPRESENTATIVE LARVADAIN: When you look at Natchitoches, there’s a
           community of interest with Natchitoches and Caddo. You’ve got lumber companies
           in that Natchitoches area. A lot of people work. RoyOMartin has a big plant at
           Natchitoches, and a lot of folks in my area work there. RoyOMartin is from
           Alexandria, and a lot of folks work in DeSoto where you have a lot of timber. And
           would you agree with that?

           SENATOR WOMACK: I agree.

           REPRESENTATIVE LARVADAIN: You look at St. Landry. St. Landry has --
           Opelousas has a nice size, medium sized hospital. So those folks in Pointe Coupee,
           they will go to St. Landry to get the medical care and so forth in Opelousas area.
           Would you agree with that?

           SENATOR WOMACK: I agree.

           REPRESENTATIVE LARVADAIN: And you look at West Baton Rouge, East
           Baton Rouge Parish.



   25
     See, e.g., Ex. 4 (starting at 3:52) (“[T]he map that I presented goes along the Red River. It’s the I49
   corridor. We have commerce through there. We have a college through there. We have a lot of ag[riculture],
   cattlemen, as well as farm, row crop, and a lot of people up through that corridor come back to Alexandria
   using that corridor for their healthcare.”).

                                                      12
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           […]

           REPRESENTATIVE LARVADAIN: And it goes all the way to the great City of
           Shreveport?

           SENATOR WOMACK: Right. Where our LSU hospital is.

           REPRESENTATIVE LARVADAIN: The hospital is vital because in Alexandria,
           we had Huey P Long [Medical Center]. You’re familiar with that, and Jindal shut
           my Huey P. Long, so my folks in Rapides have to go to LSU. So that’s a community
           of interest.26

           Despite numerous amendments offered to SB8 through the week-long session, only a

   handful were accepted.27 Right before final passage on the last day of the special session, the House

   of Representative stripped away an amendment to the bill accepted in House and Governmental

   Affairs that increased the BVAP in both CD2 and CD6.28 Reflecting the version endorsed by the

   Governor over amendments and alternatives, SB8 passed 86-16 in the House,29 and was accepted

   by concurrence in the Senate, 27-11, on January 19, 2024.30 Governor Landry signed the map into

   law as Act 2 on January 22, 2024.31

   The Callais Plaintiffs sue.

           Almost immediately after the enactment of SB8, Plaintiffs, a group of “non-African

   American” voters, filed the present suit attacking SB8 as a racial gerrymander and raising the exact

   legal issue that the Robinson court has already answered in the affirmative: whether Section 2

   26
      Id. at 20:50 – 28:38.
   27
      See, e.g., S.B. 8, 1st Spec. Sess. (La. 2024) House Floor Amendment #83 Beaullieu Adopted; S.B. 8, 1st
   Spec. Sess. (La. 2024) House Committee Amendment #74 H&G Adopted; S.B. 8, 1st Spec. Sess. (La. 2024)
   House Committee Amendment #68 H&G Draft; S.B. 8, 1st Spec. Sess. (La. 2024) House Committee
   Amendment #70 H&G Draft; S.B. 8, 1st Spec. Sess. (La. 2024) Senate Committee Amendment #48 S&G
   Adopted; S.B. 8, 1st Spec. Sess. (La. 2024) Senate Committee Amendment #38 S&G Draft; S.B. 8, 1st
   Spec. Sess. (La. 2024) Senate Committee Amendment #34 S&G Draft; S.B. 8, 1st Spec. Sess. (La. 2024)
   Senate Committee Amendment #31 S&G Draft.
   28
       Piper Hutchinson, Louisiana House committee alters, advances congressional map with 2nd Black
   district, Louisiana Illuminator (Jan. 18, 2024), https://lailluminator.com/2024/01/18/louisiana-house-
   committee-alters-advances-congressional-map-with-2nd-black-district/.
   29
      Vote on Final Passage, S.B. 8, 1st Spec. Sess. (Jan. 19, 2024).
   30
      Concurrence Vote, S.B. 8, 1st Spec. Sess. (Jan. 19, 2024).
   31
      Act 2, 1st Spec. Sess. (La. 2024).

                                                      13
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   requires Louisiana to have a second congressional district where Black voters can elect a candidate

   of choice. Compl., ECF No. 1 at 22–28. Plaintiffs also asked this Court to enjoin SB8 and reinstate

   a map with a single district in which Black voters could elect a candidate of their choosing. Mot.,

   ECF No. 17 at 2. Plaintiffs’ Illustrative Map 1 closely resembles Louisiana’s 2022 map, which has

   been held to likely violate the Robinson plaintiffs’ rights under Section 2 of the VRA. Robinson I,

   605 F. Supp. at 766; Robinson II, 37 F.4th at 215; Robinson III, 86 F.4th at 583.

                                              ARGUMENT

          “[A] preliminary injunction is ‘an extraordinary remedy never awarded as of right.’”

   Benisek v. Lamone, 585 U.S. 155, 158 (2018). To obtain a preliminary injunction, the movant must

   establish four elements: “(1) a substantial likelihood of success on the merits, (2) a substantial

   threat of irreparable injury if the injunction is not issued, (3) that the threatened injury if the

   injunction is denied outweighs any harm that will result if the injunction is granted, and (4) that

   the grant of an injunction will not disserve the public interest.” Robinson III, 86 F.4th at 587. The

   balance of the equities and the public interest “merge” as factors in the preliminary injunction

   analysis “when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

   Plaintiffs “clearly carr[y] the burden of persuasion on all four elements,” and must meet that burden

   with respect to each element in order for a preliminary injunction to issue. Lake Charles Diesel,

   Inc. v. General Motors Corp., 328 F.3d 192, 195 (5th Cir. 2003).

   I.     Plaintiffs are not likely to succeed on the merits of their claims.

          The Supreme Court has imposed a “high bar to racial gerrymandering challenges.”

   Robinson III, 86 F.4th at 595; Cooper v. Harris, 581 U.S. 285, 291 (2017). To meet that high bar,

   Plaintiffs must prove that “race was the predominant factor” motivating the Louisiana Legislature

   to pass SB8. Id. That requires a showing that the Legislature “‘subordinated’ other [traditional

   districting] factors,” including compactness, respect for political subdivisions, political influences,

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   and communities of interest, to race. Id. “Strict scrutiny does not apply merely because redistricting

   is performed with consciousness of race.” Vera, 517 U.S., at 958 (O’Connor, J., principal opinion);

   cf. Milligan, 599 U.S. at 30 (Roberts, C.J., plurality opinion) (holding that “race consciousness

   does not lead inevitably to impermissible race discrimination,” and that in fact “Section 2 itself

   ‘demands consideration of race.’”) (citations omitted).

           Even where race is the predominant factor, a racial gerrymandering claim will not succeed

   if strict scrutiny is satisfied, as it is here. Strict scrutiny is satisfied if “the State’s decision to draw

   [an additional majority-Black district] [wa]s narrowly tailored to the compelling interest of

   compliance with the VRA.” Walen, 2023 WL 7216070, at *10.

           To prevail on an intentional vote dilution claim under the Fourteenth and Fifteenth

   Amendments, Plaintiffs must show that the redistricting plan (i) has a discriminatory effect and

   (ii) was enacted with a discriminatory purpose. Hall v. Louisiana, 108 F. Supp. 3d 419, 439 (M.D.

   La. 2015). This is a fact-intensive standard. See Vill. of Arlington Heights v. Metro Housing Dev.

   Corp., 429 U.S. 252, 266–68 (1977).

           Plaintiffs cannot establish a likelihood of proving any of these necessary components of

   their claims, and their preliminary injunction must be denied.

   A.      The State and the Legislature had a strong basis in evidence to believe Section 2
           required a second majority-Black district.

           A race-conscious redistricting plan requires a “strong basis in evidence” for concluding

   that it otherwise would be vulnerable to a Section 2 vote dilution claim. Alabama Legislative Black

   Caucus v. Alabama, 575 U.S. 254, 278 (2015); Clark v. Calhoun Cnty., Miss., 88 F.3d 1393, 1405–

   06 (5th Cir. 1996). Evidence sufficient to provide the requisite “strong basis” for the use of race in

   redistricting need not conclusively establish that a Section 2 violation would occur without it. The

   “strong basis” standard


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          does not require the State to show that its action was actually . . . necessary to avoid
          a statutory violation, so that, but for its use of race, the State would have lost in
          court. Rather, the requisite strong basis in evidence exists when the legislature has
          “good reasons to believe” it must use race in order to satisfy the Voting Rights Act,
          even if a court does not find that the actions were necessary for statutory
          compliance.

   Bethune-Hill v. Virginia State Bd. of Elections, 580 U.S. 178, 194 (2017) (cleaned up).

          Here, the decisions by the district court and two unanimous Fifth Circuit panels in Robinson

   provided the State with much more than required to give it a strong basis, supported by ample and

   substantial evidence and thorough analysis, to conclude that the VRA required it to adopt a

   congressional map with two majority-Black districts. The district court, based on evidence

   presented during a five-day hearing, concluded in a 152-page opinion that the plaintiffs were

   substantially likely to establish each of the Gingles preconditions and prove Section 2 liability in

   the totality of the circumstances. See Robinson I, 605 F. Supp. 3d at 766. Two unanimous panels

   of the Fifth Circuit—first, denying the State’s motion to stay pending appeal, see Robinson II, and

   second, by the full merits panel, see Robinson III at 600-601—agreed with the district court’s

   findings. See Theriot v. Par. of Jefferson, 1996 WL 637762, at *1 (E.D. La. Nov. 1, 1996) (where

   “copious litigation and appeals” finding that each Gingles precondition was satisfied provided the

   state with “a strong basis in evidence to believe a black-majority district was reasonably necessary

   to comply with Section 2 and thus provided a compelling interest in [an additional] majority-

   minority district”); see also Clark, 88 F.3d at 1408 (holding that there was a strong basis in

   evidence for concluding a VRA-compliant map was necessary where court had “already found

   that the three Gingles preconditions exist[ed] [t]here”).

          Plaintiffs make no effort to show that the Gingles preconditions are not satisfied. They do

   not even cite Gingles. Instead, despite this “copious” litigation record, Theriot, 1996 WL 637762,

   at *1, Plaintiffs attempt to revisit arguments already decided and squarely rejected in Robinson,


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   including whether, using 2020 census data, a sufficiently numerous and geographically compact

   second majority-Black district can be drawn in Louisiana, and whether drawing such a district

   would require the State to impermissibly use race as the predominant factor. ECF No. 17-1 at 25–

   26. Plaintiffs extensively cite legal arguments—which Plaintiffs call “admissions,” despite their

   rejection by the courts—from the State’s briefing on the preliminary injunction in Robinson to

   assert it is “impossible” to draw a second majority-Black district “without impermissibly resorting

   to mere race as a factor.” ECF No. 17-1 at 26. But the district court and the Fifth Circuit rejected

   those arguments. Robinson I, 605 F. Supp. 3d at 827; Robinson II, 37 F.4th at 222. In these

   circumstances, the Legislature had a more than strong basis in evidence to conclude that the VRA

   required a congressional redistricting plan with two districts in which Black Louisianans could

   elect candidates of their choice.

   B.     Race was not the predominant factor in the enactment of SB8; the legislative record
          shows that the Legislature enacted SB8 to comply with the VRA, and the contours of
          the map were driven by politics, not race.

          “Electoral districting is a most difficult subject for legislatures, requiring a delicate

   balancing of competing considerations, [and] differs from other kinds of state decision making in

   that the legislature always is aware of race when it draws district lines, just as it is aware of ... a

   variety of other demographic factors.” Bethune Hill, 580 U.S. at187. “[T]he legislature ‘must have

   discretion to exercise the political judgment necessary to balance competing interests,’ and courts

   must ‘exercise extraordinary caution in adjudicating claims that a State has drawn district lines on

   the basis of race.’” Easley v. Cromartie, 532 U.S. 234, 241 (2001) (quoting Miller v. Johnson, 515

   U.S. 900, 915–16 (1995)) (emphasis in original). “Caution is especially appropriate . . . where the

   State has articulated a legitimate political explanation for its districting decision.” Id. at 242; see

   also Robinson I, 605 F. Supp. 3d at 856–58; Robinson III, 86 F.4th at 601.



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          To prevail on their claim that SB8 made unconstitutional use of race in establishing district

   lines, “[r]ace must not simply have been a motivation for the drawing of a majority-minority

   district, but the ‘predominant factor’ motivating the legislature’s districting decision.” Easley, 532

   U.S. at 241 (emphases in original) (cleaned up). A district’s unusual shape is not conclusive

   evidence of a racial gerrymander. Where a district’s shape can be explained by other districting

   considerations, such as politics, it carries little to no weight as evidence of racial gerrymandering.

   Cromartie, 532 U.S. at 243–53.

          Likewise, stray comments by legislators—even the chief sponsor of the redistricting plan—

   that race factored into a plan’s overall configuration must not be viewed in isolation but must be

   considered in context and in light of the entire legislative record. Id. at 253-54. In Cromartie, for

   example, the Supreme Court reversed the district court’s finding that race predominated and

   rejected the court’s fact-finding from the legislative record. Id. Where the district court had relied

   on the bill sponsor’s statement that the challenged plan achieved “racial and partisan balance,” the

   Supreme Court, reviewing that comment in context, concluded that it merely demonstrated that

   race was one consideration among many and did not establish racial predominance. Id.

          As in Cromartie, the legislative record here, viewed as a whole, demonstrates that the

   legislature’s configuration of CD6 was overwhelmingly driven by political rather than racial

   considerations. Indeed, contrary to Plaintiffs’ telling, the legislative record on SB8 makes clear

   that non-racial motivations were centered in the development of the plan. Concerns over legislative

   control of the redistricting process—a desire for the Legislature to draw a Section 2-compliant

   map on their own terms, rather than accept districts imposed by the judiciary—echoed from the




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   Governor’s speech to the final passage of SB8.32 Maintaining control over the process was a first

   and essential display of power for the newly elected Governor and state legislative leadership after

   securing a partisan sweep of statewide political offices and a supermajority in the Legislature.33

   This incentive was coupled with a clear list of motivating factors for the particular configuration

   of SB8, in which race figured as a distant and distinctly secondary factor, namely:

           1.      To ensure Representative Letlow remains unpaired with other incumbents and in a
                   district that will continue to elect a Republican to Congress;34

           2.      To maintain four Republican seats, with special effort to ensure Speaker Johnson
                   and Majority Leader Scalise are in “safe Republican seats”;35

           3.      To connect the communities with shared interests along the Red River and I-49
                   corridor, which share commerce, a college, agriculture, cattlemen, farms, row
                   crops, and healthcare centers, among other connective tissue;36 and

           4.      To comply with the Fifth Circuit’s and District Court’s decisions concerning the
                   requirements of Section 2, while still accomplishing “the political goals” stated
                   above.37




   32
      See, e.g., Office of the Governor, Governor Jeff Landry Opens First Special Session on Court Ordered
   Redistricting (Jan. 16, 2024), https://gov.louisiana.gov/news/governor-jeff-landry-opens-first-special-
   session-on-court-ordered-redistricting (“We do not need a federal judge to do for us what the people of
   Louisiana have elected you to do for them. You are the voice of the people, and it is time that you use that
   voice.”); Liz Murrill (@AGLizMurrill), Twitter (Jan. 16, 2024, 4:53 PM), https://twitter.com/
   AGLizMurrill/status/1747376599446516056 (“[W]e have a federal judge holding her pen in one hand and
   a gun to our head in the other.”); La. House of Representatives Floor Debate (Jan. 19, 2024) available at
   https://www.house.louisiana.gov/H_Video/VideoArchivePlayer?v=house/2024/jan/0119_24_1ES_Day5
   (“Ex. 5”) (starting at 2:48:44) (“If we don’t act, it’s very clear that the federal court will impose the
   plaintiff’s proposed map on our state and we don’t want that.”).
   33
      See, e.g., id, see also Piper Hutchinson, Louisiana’s special session on election matters: Winners and
   losers, LA. ILLUMINATOR (Jan. 20, 2024), https://lailluminator.com/2024/01/20/louisianas-special-session-
   on-election-matters-winners-and-losers/ (Highlighting the fact that “Louisiana’s brand-new governor got
   the congressional map he asked for with two majority Black districts,” as an important win given the
   “gamble” he took on other priorities during the session; also noting “Senate President Cameron Henry, R-
   Metairie, is clearly running the show at the Capitol,” and that the Senate “got its own way in almost
   everything, including a congressional map its senator sponsor drew.”).
   34
      See Ex. 2 (starting around 30:17); Ex. 4 (starting at 1:44); Ex. 5 (starting at 2:46:00).
   35
      See Ex. 2 (starting around 31:18); see also Ex. 4 (starting at 3:01).
   36
      Ex. 2 (starting at 33:50).
   37
      Id. (starting at 33:50).

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             In light of this record, Plaintiffs’ contention that race predominated in the drawing of SB8

   does not withstand scrutiny. Plaintiffs point to statements by legislators that SB8 was adopted to

   create a second majority-Black congressional district in order to comply with the VRA. But the

   courts have been clear that a state’s effort to comply with Section 2 does not entail that race was

   the predominant factor in any possible map. See Allen, 599 U.S. at 32–33 (plurality opinion)

   (concluding that race had not predominated in an illustrative plan’s creation of a second majority-

   Black district to support plaintiffs’ Section 2 claim); Robinson III, 86 F.4th at 595 (evidence that

   map drawer had the goal of reaching a particular target Black voting age population to comply

   with Section 2, which was balanced with other, non-racial considerations, was insufficient to

   establish racial predominance). Race was not—and did not need to be—the Legislature’s primary

   consideration for it to achieve two majority-Black districts. See Cromartie, 532 U.S. at 253

   (comments by legislators that race was part of the legislature’s calculus “says little or nothing

   about whether race played a predominant role comparatively speaking.”) (emphasis in original).

             Moreover, Plaintiffs mischaracterize the testimony they rely on for this point. For example,

   Plaintiffs cite Senate Womack’s statement that SB8’s unusual configuration “was the only way we

   could get two districts …,” trailing off with an ellipsis. Mem. at 8. What they elide is the critical

   context of Senator Womack’s statement: that SB8 “was the only way we could get two districts

   … and still protect our political interest.”38

             Plaintiffs’ other citations of the legislative record are similarly misleading. For example,

   Plaintiffs’ assertion that “[r]ace was the only reason [CD6] extended into far-flung regions of

   Louisiana,” Mem. at 8, ignores the significant testimony about the economic, social, and

   community ties among the communities drawn together in the district. For example, Plaintiffs



   38
        Ex. 3 (starting at 10:30 (emphasis added)).

                                                      20
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   assert that Senator Womack disavowed that CD6 comprised a community of interest, and “denied

   that he considered agriculture a community of interest.” Id. But whether characterized as a

   “community of interest” or as a “positive of going up that corridor,” as Senator Womack explained

   his thought process in configuring CD6 to encompass “your timberland, your ag[riculture], your

   hospitals,”39 it provides a non-racial explanation for the configuration of CD 6 that Plaintiffs

   completely ignore. Plaintiffs also ignore the extended colloquy between Representative Larvadain

   and Senator Womack about the numerous educational, healthcare, economic, employment, and

   other ties binding the communities in CD6. See supra pp. 12–13.40

           Plaintiffs contend that CD6’s peculiar shape in SB8 is explainable only by race. Even

   accepting that SB8 violates traditional redistricting principles—which Amici do not concede41—

   Plaintiffs’ argument that race was the reason is belied by the legislative record. See Mem. at 18-

   24. As the Supreme Court made clear in Cromartie, it is not the fact of a district’s shape that alone

   establishes racial predominance, but the reasons for choosing a bizarre district configuration. 532

   U.S. at 238. Here, the evidence is plain that (1) the legislature had predominantly political reasons

   for choosing to configure CD6 the way it did, and (2) it could have achieved the goal of creating

   a second majority-Black district with a more compact district configuration that split fewer

   parishes and municipalities. With respect to the second point, in the First Extraordinary session,



   39
      Id. (starting at 12:20).
   40
      Even the statements of opponents of SB8 on which plaintiffs rely do not establish that race predominantly
   explains the plan’s district configuration. For example, Plaintiffs point to Rep. Bayham’s discontent over
   the split of St. Bernard Parish and his statement that the boundary did not appear to split voters in the parish
   “on partisan lines.” Mem. at 17. But nowhere did Rep. Bayham suggest that race provides a better
   explanation of the split—it didn’t. He simply did not want his parish split at all. Ex. 5 (starting at 2:50:00).
   41
      CD6 and other districts in SB8 are no less compact than districts around the country that have been upheld
   as appropriate exercises of the states’ obligation to avoid minority vote dilution and comply with the VRA.
   For example, in Abbott v. Perez, the Supreme Court uphold “a viable opportunity district along the I–35
   corridor.” 585 U.S. 579, 615-16 (2018). Moreover, in the racial gerrymandering context, the courts have
   given the term a more expansive definition than in the Section 2 context, including such consideration as
   protecting incumbents and partisanship. See, e.g., Cromartie, 532 U.S. at 248.

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   the Legislature had opportunities to adopt a map—for example, in SB4, which mirrored the

   Robinson Amici’s proposed remedial map—that would have created two majority-Black districts

   and fared better than SB8 on traditional principles like parish splits, population deviation, and

   compactness, among others.42 Instead, the Legislature favored the configuration in SB8 for the

   conspicuous political objective to defend Representative Letlow and other specific Republican

   incumbents at the expense of Representative Graves. The sponsor of the bill was candid that

   “politics drove this map” while race was a “secondary consideration” and “not the predominant

   factor.”43 Given that the Legislature could have selected a plan that achieved the same VRA-

   compliance goals as SB8 in a form that better adhered to traditional redistricting principles, but

   chose not to so as to achieve explicitly political (and non-racial) goals, an honest reading of the

   legislative record establishes that choice of the purportedly “bizarre” configuration of districts in

   SB8 was driven by politics, not race.

           Plaintiffs’ reliance on Mr. Hefner’s report to support their contention that SB8 elevates

   race over traditional redistricting principles is misplaced. See ECF No. 17-1 at 25. Mr. Hefner’s

   analysis is far from comprehensive.44 On the contrary, it contains no analysis of communities of

   interest, other than a numerical count of parish and municipality splits. Mr. Hefner’s report also

   differs markedly from a report he submitted in the Robinson litigation, where he defended the

   “regional communit[y] of interest” along the Red River Valley—a community that the drafters of

   SB8 expressly sought to unite—stating that “[c]ultural links along the Red River Valley . . . has

   42
      See, e.g., H.B. 5, 1st Spec. Sess. (La. 2024); S.B. 4, 1st Spec. Sess. (La. 2024). Both HB5 and SB4 split
   only 11 parishes, had a deviation of 67, and fared better than SB8 on both subjective and objection measures
   of compactness (e.g. the eyeball test, Polsby-Popper, etc.).
   43
      See Ex. 2 (starting around 34:30).
   44
      More than one court has found Mr. Hefner’s testimony to be unhelpful. See, e.g., Terrebonne, 274 F.
   Supp. 3d at 422 (rejecting Hefner’s opinion because he failed to provide any objective basis for his analysis
   and rejecting Hefner’s opinion that the mapmaker’s illustrative plan was a racial gerrymander); Thomas v.
   School Board St. Martin Parish, 544 F. Supp. 3d 651, 688, 689 (W.D. La. 2021) (court considered Hefner’s
   opinions to be “weak” and “based on unreliable data”).

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   [sic] commonality with the northern part of the Acadiana Region as the Red River connected to

   the Atchafalaya River at its juncture with the Mississippi River and form[s] an important water

   transportation route.” Robinson I, ECF No. 108-3 at 33. Likewise, his analysis of SB8’s treatment

   of majority-Black precincts at best establishes that race was a consideration, as it must be in a map

   that is intended to comply with the VRA. See, e.g., Milligan, 599 U.S. at 30 (“Section 2 itself

   demands consideration of race.”) (internal quotations omitted). It does not establish that, given the

   Section 2 violation the Robinson Amici demonstrated, race was used impermissibly.

          Thus, Plaintiffs’ assertion that SB8 was configured “solely with that goal [of creating two

   majority-Black districts] in mind,” Mem. at 15, is false and unsupported by the legislative record.

   The record as a whole and the circumstances surrounding the passage of SB8 demonstrate that

   race was just one of several factors, which also include politics, social and economic ties, and other

   considerations, that the Legislature considered in adopting the new plan. Plaintiffs’ evidence fails

   to establish that race predominated over these other considerations, and their racial gerrymandering

   claim must fail. See Cromartie, 532 U.S. at 257 (racial gerrymandering claim fails where plaintiff

   “has not successfully shown that race, rather than politics, predominantly accounts for the result”).

   “Strict scrutiny does not apply merely because redistricting is performed with consciousness of

   race.” Vera, 517 U.S., at 958 (O’Connor, J., principal opinion).

   C.     SB8 was drawn to further the State’s compelling interest in complying with Section
          2 of the VRA.

          Even if Plaintiffs could succeed in showing that race predominated the map-drawing

   process—and they cannot—SB8 survives strict scrutiny because the Legislature adopted it to

   further the State’s compelling interest in complying with the VRA and used race no more than

   necessary to achieve that goal. “[C]ompliance with Section 2 constitutes a compelling

   governmental interest,” Clark, 88 F.3d at 1405, sufficient to “justif[y] the predominant use of race


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   in redistricting” so long as it is narrowly tailored to that goal, Bethune Hill, 580 U.S. at 193; see

   also Prejean v. Foster, 227 F.3d 504, 515–19 (5th Cir. 2000). As explained above, the State and

   Legislature had a compelling basis in evidence to conclude that Section 2 required them to create

   a second district in which Black voters would have an opportunity to elect candidates of their

   choice, and indeed, that this second opportunity district had to be majority Black. See supra Sec.

   I. A.

           The Legislature’s use of race in SB8 is narrowly tailored to satisfy that legal obligation. A

   VRA-compliant map is narrowly tailored where it, like SB8, “substantially address[es]” the

   purported Section 2 violation and does not subordinate traditional redistricting principles “for

   predominantly racial reasons.” Clark, 88 F.3d at 1407–08 (quoting Bush, 517 U.S. at 994

   (O’Connor, J., concurring)) (emphasis added). Courts, including the Fifth Circuit, have

   consistently held that a map will be narrowly tailored so long as it “does not ‘subordinate

   traditional districting principles to race substantially more than is ‘reasonably necessary’ to avoid

   § 2 liability.’” Clark, 88 F.3d at 1407 (quoting Vera, 517 U.S. at 979) (emphases added); see also,

   e.g., Addy v. Newton Cnty., 2 F. Supp. 2d 861, 862–64 (S.D. Miss. 1997), aff’d, 184 F.3d 815 (5th

   Cir. 1999); Theriot v. Par. of Jefferson, 966 F. Supp. 1435, 1447–48 (E.D. La. 1997).

           Importantly, the teaching of these cases is not that congressional maps may never deviate

   from the bounds of traditional restricting principles. Once a state has the requisite strong basis in

   evidence that the VRA mandates an additional majority-minority district, it is not obligated to

   choose the most compact map that satisfies the VRA. To be sure, Section 2 “never require[s]

   adoption of districts that violate traditional redistricting principles,” Milligan, 599 U.S. at 30

   (emphasis added), but it is also true that “Section 2 does not forbid the creation of a noncompact

   majority-minority district.” League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 430



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   (2006) (“LULAC”) (emphasis added). In Addy v. Newton County, for example, the district court

   found that there was “no equal protection violation since the decision as to where to place the

   district lines was driven by politics, not race.” 2 F. Supp. 2d at 863–64 (quoting Theriot v. Par. of

   Jefferson, 1997 WL 204919, at *13–14 (E.D. La. 1997)). The parish leadership there, who redrew

   their maps in response to a successful Section 2 challenge, faced a choice between two potential

   remedial maps, one that created a “east-west” majority-minority district and another that created a

   “north-south” district. The court found that the legislators selected the map with the north-south

   configuration “to protect their own seats and to undermine the chance of [another legislator’s]

   reelection … by placing him in the majority-minority district,” and “to the extent the [Parish] may

   have sacrificed a degree of compactness by selecting the north-south rather than east-west location

   for the majority-minority district, it did so exclusively for political, not racial reasons.” Id.

           Here, SB8 substantially addresses the likely Section 2 violation found by Judge Dick and

   the Fifth Circuit because, consistent with those rulings, it includes two majority-Black districts in

   which the BVAP is only slightly above 50% and is no higher than necessary to create the electoral

   opportunities Section 2 requires. Moreover, the fact that the districts in SB8 are not as compact as

   HB1 or other alternatives and that it splits more parishes and municipalities is not evidence that it

   is insufficiently narrowly tailored.

           The record establishes that, here, creating a second majority-Black district did not require

   deviating from traditional redistricting principles—as evidenced by SB4, which was substantially

   similar to plans offered by the plaintiffs in the Robinson litigation that the courts found compact

   and reasonably configured. SB8 thus does not subordinate traditional redistricting principles to

   race more than necessary to avoid Section 2 liability. Rather, as in Addy, the Legislature chose to

   subordinate compactness and other considerations in adopting SB8 to political considerations, not



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   racial ones—to protect the seats of specific Republican congresspeople and to thwart the potential

   reelection of Representative Graves by placing him in the new majority-Black district. See supra

   pp. 9–11. In other words, SB8’s sacrifice of certain redistricting principles “was not predominantly

   attributable to gerrymandering that was racially motivated and/or achieved by the use of race as a

   proxy, but instead was a case of predominantly, nonracial, political motivations.” Addy, 2 F. Supp.

   2d at 862–64 (citations omitted).45

           Plaintiffs’ remaining arguments are unavailing. Plaintiffs argue—incorrectly—that

   compliance with the VRA is not a compelling interest here because the Legislature did not engage

   in a “pre-enactment analysis.” PI at 5. This argument ignores more than two years of litigation

   which resulted in a robust evidentiary record and multiple court rulings showing that Section 2

   likely required a second Black-opportunity district and that such a district could be achieved

   without violating the Constitution. The legislature was permitted to rely on that litigation record.

   See Theriot, 1996 WL 637762, at *1 (finding “a ‘strong basis in evidence’ to believe a black-

   majority district was ‘reasonably necessary’ to comply with Section 2” based on previous Section

   2 litigation record) (citation omitted); see also Abbott v. Perez, 585 U.S. 579, 616 (2018) (where

   legislature adopted new districting map to resolve VRA litigation, evidence from litigation record

   could provide “good reasons” to use race in remedial map). Plaintiffs’ argument also ignores the

   extensive record from the 2020 redistricting public hearings and the 2024 special session analyzing

   a second majority-Black district.46



   45
      Furthermore, this is not a case where the map was drawn as a partisan gerrymander, so there can be no
   allegation that the Legislature used political party as a proxy for race. The political motivation here was not
   a desire to accrete power to a specific party but to protect some Congressional members over others--the
   Legislature apparently choose SB8 over other options as an act of political retribution to make it harder for
   Representative Graves to be reelected to Congress. There is nothing in the Constitution that prevents elected
   officials from carrying out personal political agenda in redistricting decisions.
   46
      See Ex. 2.

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             Plaintiffs’ reliance on Wisconsin Legislature and Bethune-Hill for the proposition that the

   State must show that the VRA requires the specific map it adopts “on a district-by-district” basis

   is misplaced. See ECF No. 17-1 at 24. The law does not require the State to show that the VRA

   specifically required each district exactly as the legislature drew it. Neither Bethune-Hill nor

   Wisconsin Legislature suggest that compliance with the VRA satisfies the Fourteenth Amendment

   only if the State establishes that the VRA requires the specific map it adopts. Cf. LULAC, 548 U.S.

   at 429–30 (state’s remedial map creating majority-Latino district that excluded plaintiffs would

   not violate Section 2 if including plaintiffs would require excluding other Latinos). Rather, the

   courts have been clear that a state has “leeway” in how it chooses to comply with Section 2. Bush,

   517 U.S. at 977. To be sure, the state may not justify unlawful vote dilution in one part of the state

   by creating a remedial district in a different place. See Shaw v. Hunt, 517 U.S. at 917 (“The vote-

   dilution injuries suffered by these persons are not remedied by creating a safe majority-black

   district somewhere else in the State.”). But here, the district court in Robinson found a likely

   violation of Section 2 based on an illustrative map that included the cities of Baton Rouge,

   Lafayette, and Alexandria, which are also included in the new majority Black district in SB8.

   Robinson I, 605 F. Supp. 3d at 766. The Robinson record also included evidence of racial

   polarization in the 2022 plan’s CD4, which included Caddo, DeSoto, and Natchitoches Parishes.

   2.        See Robinson I, ECF No. 41-3 at Ex. 2.47 The State thus had every reason to believe that a

   new majority-Black district drawing these areas together was sufficiently tied to the demonstrated

   Section 2 violation to be within the leeway the Constitution affords. Cf. LULAC, 548 U.S. at 429

   (where state must choose among voters “with a VRA right” because all cannot be drawn into

   majority-minority districts, it cannot be faulted for its choices).



   47
        HB1 Enrolled Map, available at https://www.legis.la.gov/legis/ViewDocument.aspx?d=1248568.

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          Finally, Plaintiffs argue this Court should enjoin SB8 and draw a remedial map because

   another three-judge court struck down a map with two majority-Black districts 30 years ago in the

   Hays litigation. But here, as in Robinson I, the “invocation of Hays is a red herring.” Robinson I

   at 834. The Hays court never held that two majority-Black districts are per se invalid or could

   never be required by the VRA. Both the district court and the Fifth Circuit in Robinson rejected

   this very argument. Robinson I at 834 (rejecting similar assertions by the State that the “Hays maps

   [were] instructive, applicable or otherwise persuasive” or “useful comparators” in any way). The

   district court in Robinson firmly stated that Hays “is not a magical incantation with the power to

   freeze Louisiana’s congressional maps in perpetuity.” Id. More important, here the district court

   and the Fifth Circuit held—based on conditions as they exist in Louisiana today, not 30 years

   ago—that a congressional plan with one majority-Black district likely violates the VRA and

   rejected the State’s argument that creating a second majority-Black district necessarily entailed

   racial gerrymandering. Robinson III at 593–94.

          Further, any comparison between SB8 and the maps at issue in Hays is inapposite.

   Plaintiffs assert that Hays is “factually identical to the case before this Court.” ECF No. 17-1 at

   12. That is simply inaccurate. Whatever the superficial resemblance between SB8 and the Hays

   map, the process that led to SB8 was entirely different. In the Hays cases, the court concluded that

   race predominated because the cartographer on numerous occasions admitted that he “concentrated

   virtually exclusively on racial demographics and considered essentially no other factor except the

   ubiquitous constitutional ‘one person-one vote’ requirement.” Hays v. State, 936 F. Supp. 360,

   368 (W.D. La. 1996) (emphasis added). Similarly, in Hays, the court concluded that the proffered

   justifications for the district’s shape were “patently post-hoc rationalizations,” explaining that

   “neither the Red River nor socio-economic factors were relied on by legislators at the time of the



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   drawing of the district.” Id. at 369. Here, however, Plaintiffs provide no evidence that legislators,

   having resolved to remedy the Section 2 violation, concentrated on anything other than “political

   interest” and the social and economic factors that provided a “positive of going up that [Red River]

   corridor.”48

   D.      Plaintiffs are unlikely to prevail on their intentional vote dilution claim under the
           Fourteenth and Fifteenth Amendments.

           Plaintiffs are also unlikely to succeed on their claim of intentional vote dilution under the

   Fourteenth and Fifteenth Amendments. To prevail on that claim, Plaintiffs must show that

   redistricting plan (i) has a discriminatory effect and (ii) was enacted with a discriminatory purpose.

   Hall, 108 F. Supp. 3d at 439.49 This is a fact-intensive standard. See Vill. of Arlington Heights, 429

   U.S. at 266–68. Plaintiffs’ misguided legal arguments and utter lack of factual support are far from

   what is required to demonstrate likelihood of success on the merits of their intentional

   discrimination claim.

           First, Plaintiffs cannot establish that the enactment of SB8 has a discriminatory effect on

   themselves and other “non-African American” voters. “To prove discriminatory effect, a plaintiff

   must show that the redistricting scheme impermissibly dilutes the voting rights of the racial

   minority. Broadly speaking, this requires proof that the racial minority’s voting potential has been

   minimized or cancelled out or the political strength of such a group adversely affected.” Backus v.

   South Carolina, 857 F. Supp. 2d 553, 567–70 (D.S.C.) (cleaned up), aff’d, 568 U.S. 801 (2012).

   In evaluating claims of intentional vote dilution, courts analyze whether bloc voting occurs along

   racial lines; whether the group is excluded from the political process; whether minority voter


   48
     Ex. 3 (starting at 10:30).
   49
     Because Plaintiffs do not distinguish their Fourteenth and Fifteenth Amendment claims, these arguments
   in opposition to their preliminary injunction motion apply equally to their claims under both Amendments.
   See League of United Latin Am. Citizens v. Abbott, 2022 WL 4545757, at *1 n.7 (W.D. Tex. Sept. 28, 2022)
   (applying same arguments to Fourteenth and Fifteenth Amendments).

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   registration is low; whether elected officials are unresponsive to the needs of the group; and

   whether the group occupies depressed socioeconomic status because of inferior education or

   employment and housing discrimination. See York v. City of St. Gabriel, 89 F. Supp. 3d 843, 864

   (M.D. La. 2015); Hall, 108 F. Supp. 3d at 439; Backus, 857 F. Supp. at 568.

           Plaintiffs cannot plausibly allege, much less establish, that any of these factors weighs in

   their favor. At the outset, proof of intentional discrimination requires evidence of discrimination

   against an “identifiable group,” Fusilier v. Landry, 963 F.3d 447, 463 (5th Cir. 2020), and

   Plaintiffs have not offered any evidence that “non-African Americans”—a term which, as the

   Plaintiffs use it, encompasses every person in Louisiana who is not Black, including Latino, Asian,

   and Native American, as well as white Louisianians—form a cohesive racial group whose

   members share a common experience of discrimination. Plaintiffs have offered no evidence that

   non-Black voters—the vast majority of whom are white—are excluded from the political process

   or have elected representatives who are unresponsive to their needs; no evidence that non-Black

   Louisianians as a group suffer from low socioeconomic status or face discrimination in other areas

   of life; and no evidence that non-Black voters form a cohesive voting bloc whose distinctive voice

   is minimized as a result of bloc voting by Black voters.50 Indeed, the district court and Fifth Circuit

   rulings in Robinson prove the opposite: that Black voters face barriers to participation and bloc

   voting by white voters that thwarts their electoral opportunities. See Robinson I at 839, 844–45,



   50
      There is, of course, substantial evidence that other non-white Louisianians—in addition to Black
   people—have been subject to voting and other forms of discrimination in Louisiana. See, e.g., VAYLA New
   Orleans v. Tom Schedler, 3:16-cv-305-BAJ-RLB (M.D. La. 2016) (alleging discrimination in voter
   registration against foreign-born voters); Letter from Jean Charles Choctaw Nation to U.S. Department of
   Housing and Urban Development re Complaint Under Title VI of the Civil Rights Act of 1964, 42 U.S.C.
   § 2000d, and 40 C.F.R. Part 7 against the Louisiana Division of Administration (Dec. 21, 2023), available
   at         https://earthrights.org/wp-content/uploads/2023/12/IDJC-Resettlement-Title-VI-Complaint-for-
   website.pdf (alleging discrimination against Native Americans in management of the Isle de Jean Charles
   Resettlement Program)

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   846–48. Accordingly, Plaintiffs are unlikely to prove that SB8 has had a discriminatory impact on

   non-Black voters or in any way diluted their voting power.

          Second, Plaintiffs cannot establish SB8 was enacted with intent or purpose to discriminate

   against the misleadingly labeled category of “non-African American” voters. “Discriminatory

   intent implies more than intent as volition or intent as awareness of consequences . . . It implies

   that the decisionmaker . . . selected or reaffirmed a particular course of action at least in part

   because of, not merely in spite of, its adverse effects upon an identifiable group.” Fusilier, 963

   F.3d at 463–65 (citation and quotations omitted). In order to determine whether a particular

   decision was made with discriminatory intent, courts consider the non-exhaustive factors set forth

   in Arlington Heights, including (i) the historical background of the decision; (ii) the sequence of

   events leading up to the challenged action; (iii) departures from the normal decision-making

   process; and (iv) legislative history, including contemporaneous viewpoints expressed by the

   decisionmakers. 429 U.S. at 266–68; see also Veasey v. Abbott, 830 F.3d 216, 231 (5th Cir. 2016).

   Plaintiffs fail to analyze any Arlington Heights factors, cite any cases that support their position,

   or point to any evidence even suggesting that SB8 was enacted with an intent to discriminate

   against “non-African American” voters. An analysis of those Arlington Heights factors shows they

   uniformly weigh against a finding of discriminatory intent.

          In evaluating claims of discriminatory intent, courts weigh the historical background of the

   decision, including recent or contemporary examples of State-sponsored discrimination. Veasey,

   830 F.3d at 239. Here, Plaintiffs do not—and cannot—point to any examples of institutional

   discrimination against non-Black voters as an identified group. Plaintiffs have likewise cited no

   evidence that there is a history of non-Black voters being subject to voting discrimination because

   they are not Black, such as being purged from voter rolls, or any evidence of official discrimination



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   in other areas of life against non-Black Louisianians as a whole. Cf. id. at 239–40 (“contemporary

   history” of state-sponsored discrimination included Texas’s attempt to purge minorities from the

   voter rolls); Patino v. City of Pasadena, 230 F. Supp. 3d 667, 721–28 (S.D. Tex. 2017) (disparate

   treatment of Latinos by police was contemporary evidence of discrimination).51

           In addition, none of the events leading up to the enactment of SB8 suggest that legislators

   enacted the map because of—rather than in spite of—its potential adverse effect on non-Black

   voters. Rather, the sequence of events makes explicit the inclusion of congressional redistricting

   in the special session call was specifically in response to the Robinson litigation. And while the

   legislative process that led to the enactment of SB8 was abbreviated, that timeline was driven by

   the litigation and the need to adopt a new map in time for the 2024 federal election, so Louisiana

   voters would not have to endure a second congressional election under a map that violated the

   VRA. And indeed, the relevant process cannot be limited to the 2024 special session but must also

   consider that the Legislature had already taken extensive time in both 2021 and 2022 to consider

   redistricting and hold roadshows that heard public testimony from around the state.

           The legislative history also reveals that there was no intent to enact SB8 “because of” any

   potential adverse effect on non-Black voters. As explained supra, legislators were driven primarily

   by an intent to protect their partisan advantage while also complying with federal law and court

   orders from the Robinson district court and Fifth Circuit. The legislators must be afforded the

   presumption of good faith and Plaintiffs point to no evidence to overcome that presumption.

   Fusilier, 963 F.3d at 464–66 (reversing the district court’s finding of legislative discriminatory

   intent based in part on the finding that the district court did not afford legislators the presumption

   of good faith).


   51
     Again, there is no lack of discrimination in Louisiana against voters of color who are non-Black, a fact
   that Plaintiffs’ use of the term “non-African American” elides.

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   II.    Plaintiffs will not suffer irreparable injury absent an injunction.

          Plaintiffs have not satisfied their burden of demonstrating that they would suffer an

   irreparable harm absent a preliminary injunction, which this Court has explained is the “most

   essential” prerequisite for a preliminary injunction. Holmes v. BellSouth Telecommunications,

   LLC, 2023 WL 5610359, at *2 (W.D. La. Aug. 29, 2023). “[P]laintiffs seeking preliminary relief

   [must] demonstrate that irreparable injury is likely in the absence of an injunction.” Winter v. Nat.

   Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (emphasis in original). A hypothetical constitutional

   injury arising from an electoral map designed to remediate a likely Section 2 violation, with no

   clear evidence of racial predominance or racial discrimination, does not satisfy the irreparable

   injury requirement.

   III.   The balance of equities and public interest weigh against injunctive relief.

          The balance of the equities and the public interest “merge” as factors in the preliminary

   injunction analysis “when the Government is the opposing party.” Nken, 556 U.S. at 435. “When

   addressing these factors, courts must balance the competing claims of injury and must consider

   the effects on each party of the granting or withholding of the requested relief.” Clarke v.

   Commodity Futures Trading Comm’n, 74 F.4th 627, 643 (5th Cir. 2023) (citation and quotation

   omitted). The district court and Fifth Circuit in Robinson made clear that the Amici and other

   Louisiana voters face irreparable harm if the Court imposes a new map with only one majority-

   Black district or allows another election to be held under HB1—an injury they have already

   suffered in one congressional election under a dilutive map. The courts have already held that the

   HB1 likely violates Section 2, diluting the votes of the Robinson Amici. See Robinson I; Robinson

   II; Robinson III. Given that “protecting voting rights is quite clearly in the public interest, while

   allowing elections to proceed under a map that violates federal law most certainly is not,” Robinson

   I at 852, the balance of the equities weighs against an injunction. Plaintiffs’ invocation of Students

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   for Fair Admissions, Inc. v. President & Fellows of Harvard College (“SFFA”), ECF No. 17-1 at

   26–27, should be rejected for the same reason the Fifth Circuit rejected the analogy to SFFA in

   Robinson. See 86 F.4th at 593 (holding that SFFA decision on university admissions was a “tough

   analogy” in the context of the VRA); see also Milligan, 599 U.S. at 32-33 (affirming use of race

   conscious districting to remedy proven Section 2 violation).

           The public interest plainly weighs against an injunction that would undo a remedial

   redistricting plan that was enacted to resolve litigation in another court that found that a map

   materially indistinguishable from the one Plaintiffs proffer violated the VRA.52

   IV.     Plaintiffs’ proposed remedial map violates the VRA and should be rejected.

           Even if Plaintiffs were somehow able to establish that they are likely to succeed on their

   claims and that the equities favor enjoining SB8—and they have not—this Court must implement

   a map that complies with Section 2 of the VRA. After nearly two years of litigation, the district

   court and two unanimous panels of the Fifth Circuit have concluded that any congressional

   districting plan without two districts that provide Black voters an opportunity to elect their

   candidates of choice likely violates Section 2 and denies Black voters their right to participate

   equally in the political process. Nothing in the intervening time since these court rulings disturbs

   that fundamental conclusion. Yet, instead of making any effort to propose a map that complies

   with the district court and Fifth Circuit decisions, Plaintiffs here proffer a map that returns

   Louisiana to the state of affairs that led to the Robinson litigation in the first place.

           For the same reasons those courts found HB1 to likely violate Section 2, Plaintiffs’

   Illustrative Plan 1, which includes only one district where Black voters have the opportunity to



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      Given the timing of the litigation, there is also a concern that the court could adequately litigate both a
   liability and remedial phase in time to prevent the type of voter confusion that Purcell and its progeny warn
   courts against. See generally Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam).

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   elect a candidate of choice, does not comply with Section 2. This Court should not impose it on

   Louisianians. Instead, the procedure contemplated by the Fifth Circuit in the Robinson should be

   followed: this Court should stay this case in favor of remedial proceedings before the Robinson

   court to adopt a VRA-compliant remedial map, as the Fifth Circuit directed in the event that the

   Legislature failed to enact a lawful map.

          In the alternative, the Court should adopt the Robinson Amici’s proposed remedial map or

   one of their illustrative maps. The district court in Robinson held that the Robinson Amici’s

   illustrative maps from the Robinson litigation (which were substantially similar to their proposed

   remedial plan) conform to traditional redistricting principles and were not drawn with race as the

   predominant factor. Plaintiffs offer no evidence to the contrary; indeed, neither Plaintiffs nor

   Mr. Hefner even mentions or analyzes any of those maps. Amici’s plan has already passed

   constitutional muster in the Fifth Circuit and the Middle District based upon an extensive

   evidentiary record, including cross-examination of the map drawer. Unlike Plaintiffs’ Illustrative

   Map 1, which has not had the benefit of any court scrutiny, Amici’s plan can be implemented

   without further ado.

          Regardless of how this Court chooses to proceed, it must ensure Louisiana’s congressional

   map provides Black voters an opportunity to elect candidates of their choice in two districts.

                                            CONCLUSION

          For all of the reasons above, the Amici respectfully request that this Court deny the motion

   for a preliminary injunction.



   DATED: February 27, 2024                      Respectfully submitted,




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